Case:17-03283-LTS Doc#:17110-1 Filed:06/18/21 Entered:06/18/21 19:17:08   Desc:
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                          Exhibit A
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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF PUERTO RICO

    In re:
    THE FINANCIAL OVERSIGHT AND                                    PROMESA
    MANAGEMENT BOARD FOR PUERTO RICO,                              Title III
             as representative of
                                                                   No. 17 BK 3283-LTS
    THE COMMONWEALTH OF PUERTO RICO, et al.,                       (Jointly Administered)
                     Debtors.1


    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO RICO,
                                                                   Adv. Proc. No. 20-00003-
             as representative of                                  LTS
    THE COMMONWEALTH OF PUERTO RICO,
                    Plaintiff,
                            v.
    AMBAC ASSURANCE CORPORATION, et al.,
                     Defendants.




1
  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the
last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax
ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK
3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808);
(iv) Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
(Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico
Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780‐LTS) (Last Four Digits of Federal
Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-
5523-LTS) (Last Four Digits of Federal Tax ID: 3801).
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     THE FINANCIAL OVERSIGHT AND
     MANAGEMENT BOARD FOR PUERTO RICO,
                                                                     Adv. Proc. No. 20-00004-
             as representative of                                    LTS
     THE COMMONWEALTH OF PUERTO RICO,
                     Plaintiff,
                             v.
     AMBAC ASSURANCE CORPORATION, et al.,
                     Defendants.


     THE FINANCIAL OVERSIGHT AND
     MANAGEMENT BOARD FOR PUERTO RICO,
                                                                     Adv. Proc. No. 20-00005-
             as representative of                                    LTS
     THE COMMONWEALTH OF PUERTO RICO,
                     Plaintiff,
                             v.
     AMBAC ASSURANCE CORPORATION, et al.,
                     Defendants.



  [PROPOSED] ORDER SCHEDULING SUPPLEMENTAL SUMMARY JUDGMENT
 BRIEFING AND HEARING IN THE REVENUE BOND ADVERSARY PROCEEDINGS

          Upon consideration of the Joint Informative Motion of Ambac Assurance Corporation,

Financial Guaranty Insurance Company, The Bank of New York Mellon, U.S. Bank Trust National

Association, and the Financial Oversight and Management Board for Puerto Rico, as

Representative of the Commonwealth of Puerto Rico, Pursuant to the Court’s Order Dated

January 20, 2021 (the “Motion”),2 the relevant portions of the docket, and being otherwise fully

advised in the matter; and the Court having jurisdiction over this matter under 28 U.S.C. § 1331

and PROMESA § 306(a), 48 U.S.C. § 2166(a); and venue being proper under 28 U.S.C. § 1391(b)


2
    Capitalized terms not defined herein have the meanings ascribed to them in the Motion.
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and PROMESA § 307(a), 48 U.S.C. § 2167(a); and due and proper notice of the Motion having

been provided, and it appearing that no other or further notice need be provided; and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing therefore, the Court hereby ORDERS THAT:

       1. The Motion is GRANTED as set forth herein.

       2. Defendants’ supplemental briefs opposing the Board’s summary judgment motions

and amended counter-statements of undisputed material fact and statements of additional material

facts must be filed no later than July 16, 2021.

       3. The Board’s responses to Defendants’ submissions, including responses to any

amended counter-statements of undisputed material fact and statements of additional material

facts, must be filed no later than August 13, 2021.

       4. The Defendants’ supplemental briefs and the Board’s supplemental briefs shall not

exceed 55 pages per side in the HTA Adversary Proceeding, 35 pages per side in the PRIFA

Adversary Proceeding, and 25 pages per side in the CCDA Adversary Proceeding. Defendants

and the Board shall endeavor to file single consolidated briefs in each Adversary Proceeding. Any

substantive separate brief filed by any Defendant will count against Defendants’ page limits, and

any substantive separate brief filed by AAFAF or the UCC will count against the Board’s page

limits. Joinders filed by any party that merely specify which paragraphs of a principal brief that

party adopts shall not count against page limits. These page limits shall cover only memoranda of

law, not declarations or exhibits. Any declarations filed pursuant to Federal Rule of Civil

Procedure 56(d) will be limited to factual contentions, not pure legal argument which shall be

addressed in the memoranda of law.




                                                   2
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       5. Consistent with the intervention order in the HTA Adversary Proceeding (See Order,

Adv. Proc. 20-00005-LTS (ECF No. 41) at 6-7), the DRA Parties shall file a separate brief in that

proceeding of up to 7 pages by no later than July 30, 2021. The DRA Parties reserve the right to

seek additional pages and also reserve the right to seek leave to respond to the Board’s

supplemental brief. The Parties likewise reserve the right to oppose such requests.

       6. The Court will hold a hearing on the Parties supplemental summary judgment

submissions on September __, 2021.

       7. This Order resolves Docket Entry No.       in Case No. 17-BK-3283-LTS, Docket Entry

No. ___ in Adv. Proc. No. 20-00003-LTS, Docket Entry No.__ in Adv. Proc. No. 20-00004-LTS,

and Docket Entry No.__ in Adv. Proc. No. 20-00005-LTS.




 Dated:                  , 2021
          San Juan, Puerto Rico
                                              Laura Taylor Swain
                                              United States District Court Judge




                                                3
